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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,
                                                         CRIMINAL NUMBER:
               v.
                                                         1:18-cr-00032-2-DLF
CONCORD MANAGEMENT AND
CONSULTING LLC

        Defendant.


    DEFENDANT CONCORD MANAGEMENT AND CONSULTING LLC’S MOTION TO
           STRIKE THE GOVERNMENT’S “SUPPLEMENTAL FILING”

        Defendant Concord Management and Consulting LLC (“Concord” or “Defendant”),

through counsel, submits this Motion to Strike the Government’s “Supplemental Filing” as

procedurally improper and an effort to obtain an impermissible advisory opinion.

        It is maddening that foreign corporate Defendant Concord stands accused by the

government of a make-believe crime where there is not one iota of evidence that Concord was

aware of the obscure regulatory rules forming the charge, while at the same time the same

government flaunts the rules of this Court and the law of this land. If the government’s so called

“supplemental filing” relates to Concord’s Motion for a Show Cause Order then it is a sur-reply

not provided for in L.Cr.R. 47. Otherwise, the pleading is an improper and sneaky request for an

advisory opinion from the Court. Either way, the filing is improper and should be stricken.1




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  Moreover, in the government’s parallel universe where it makes its own rules, it believes a fair
trial can be had where evidence withheld from Concord can be shared solely for political
purposes with the leak-prone United States Congress. So Congressional members and staff will
have evidence they can use for political warfare that has not been produced to the Defendant in
this criminal case.


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        The “Supplemental Filing” Is An Improper Sur-Reply

        The government’s submission—which bears the vague “supplemental filing” moniker—

ostensibly responds to Concord’s show cause motion, ECF No. 129, and invokes Concord’s

arguments related to L.Cr.R. 57.7. Despite this, the government never sought leave of Court to

file a further response after Concord filed its reply brief on May 15, 2019. Put simply, this is

nothing more than an attempt to end-run the requirement that the government must seek leave of

court to file a sur-reply brief.

        There is no automatic right to file a sur-reply contained in either the Federal Rules of

Criminal Procedure or in the Local Rules of this Court. Accordingly, a party seeking to file a

sur-reply may do so only by seeking leave of court. Flanagan v. Wyndham Int'l Inc., 231 F.R.D.

98, 101 (D.D.C. 2005); see Amobi v. D.C. Dep’t of Corr., 257 F.R.D. 8, 9 (D.D.C. 2009). While

courts have wide discretion about whether to grant or deny leave to file a sur-reply, they

generally do so in situations where a movant raises an argument for the first time in its reply

brief. United States ex rel. Hockett v. Columbia/HCA Healthcare Corp., 498 F. Supp. 2d 25, 35

(D.D.C. 2007); see also Gebretsadike v. Travelers Home & Marine Ins. Co., 103 F. Supp. 3d 78,

86 (D.D.C. 2015) (requiring that a party seeking to file a sur-reply must (1) request the court’s

permission; and (2) show that the reply raised new arguments not included in the original

motion).

        While motions to strike are generally disfavored, Hockett, 498 F. Supp. 2d at 35, courts in

this district have not hesitated to strike submissions that amount to sur-replies, yet are not

explicitly styled as such. See Spanski Enters. v. Telewizja Polska S.A., No. 12-cv-957, 2017 U.S.

Dist. LEXIS 20465, at *5 n.2 (D.D.C. Feb. 14, 2017) (“Plaintiff’s Motion for Leave to File a

Reply is denied as moot and Plaintiff’s ‘Opposition,’ which is in substance a sur-reply, is




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stricken”); Randolph v. ING Life Ins. & Annuity Co., 486 F. Supp. 2d 1, 9 n.5 (D.D.C. 2007)

(striking portion of a response to supplemental authority that was, in essence, a sur-reply filed

without first seeking leave of court).2 The reason this Court does so is obvious: parties should

not be permitted to bypass the leave-to-file requirement merely by changing the caption of a

filing.

          Here, the substance of the government’s submission is essentially a sur-reply to

Concord’s show cause motion. It invokes Concord’s argument related to public disclosure of the

Report in violation of L.Cr.R. 57.7. Yet, unlike in the typical situation where a sur-reply is

allowed, the government here fails to actually engage with any argument Concord made in its

reply brief. Under these circumstances—even if the government had followed the procedural

requirement of seeking leave—a sur-reply is inappropriate because the “supplemental filing”

does not respond to any new arguments in Concord’s reply and thus will not aid the Court in

deciding Concord’s show cause motion. But the government goes even farther here, by not

seeking leave at all, and instead simply filing the document and offering a vague title,

presumably in an effort to avoid the procedural requirement in the first place.

          The Government Seeks an Impermissible Advisory Opinion

          Even worse, the government’s submission lays out an intended course of action related

to the further disclosure of the Mueller Report and essentially asks this Court to place its

imprimatur on that action—without regard for the case or controversy requirement of Article III

of the Constitution of the United States.



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  It is difficult to find criminal cases in this district addressing the appropriateness of sur-reply
briefs. However, consistent with the civil cases cited above, there are criminal cases from other
districts striking sur-reply briefs filed without leave of court. See, e.g., United States v. Scott,
No. 2:04-CR-80, 2005 WL 8156721, at *1 (N.D. Ind. Oct. 24, 2005) (striking sur-reply filed by
the government without leave of court).


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         It is well-settled that federal courts lack power to “decide abstract, hypothetical or

contingent questions.” Nat’l Conf. of Catholic Bishops v. Smith, 653 F.2d 535, 539 (D.C. Cir.

1981). Indeed, Article III limits federal courts’ exercise of judicial power to “Cases” and

“Controversies.” U.S. Const. art. III, § 2; Flast v. Cohen, 392 U.S. 83, 94-95 (1968). “[I]t is

quite clear that the oldest and most consistent thread in the federal law of justiciability is that the

federal courts will not give advisory opinions.” Flast, 392 U.S. at 96 (internal quotation marks

omitted). This Court has recognized that requests for advisory opinions that arise in the context

of a broader litigation may still be rejected on that basis. See United States v. Microsoft Corp.,

No. 98-1232, 2002 U.S. Dist. LEXIS 9914, at *6 (D.D.C. Feb. 22, 2002) (recognizing that a

request by the government “attempt[ing] to invoke the federal judicial power, in advance of any

action by the government, to obtain authorization for a particular form of executive action …”

sought an advisory opinion, and noting that its conclusion does not imply that the government’s

ultimate action is not subject to judicial review, but rather that there can be no review in advance

of government action).

         Here, too, the government has outlined a particular course of action that it has not yet

taken.    Specifically, it asserts that the Department of Justice intends to make available a

“minimally redacted” version of the Mueller Report to the HPSCI and the SSCI, along with the

staff members of those committees. Supplemental Filing 1-2. While the government insists that

its intended course of action does not violate L.Cr.R. 57.7, “in an abundance of caution and in

the interests of transparency,” the government has outlined this prospective course of action in

what is plainly an effort to obtain Court approval—i.e. “further guidance from the Court.”

Supplemental Filing 3. This is the textbook “hypothetical” question that falls outside the case

and controversy limits imposed by Article III. Smith, 653 F.2d at 539. Moreover, it places the




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Court in the impossible position that if it does not substantively respond to the government’s

non-motion, the government can later argue that the Court’s silence constituted approval of the

government’s proposed course of action. This Court cannot pass upon whether the government

will violate Local Criminal Rule 57.7 by releasing the unredacted Mueller Report to Congress—

it can only pass upon whether the government’s actions have violated it, as Concord’s show

cause motion asks.

        In this highly unusual once-in-history case, the government must be required to follow

the rules.

        WHEREFORE, Concord respectfully requests that this Court strike the government’s

“supplemental filing” as procedurally improper or, in the alternative, as seeking an improper

advisory opinion.

Dated: May 23, 2019                               Respectfully submitted,

                                                  CONCORD MANAGEMENT AND
                                                  CONSULTING LLC

                                                  By Counsel

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